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 6   Attorney for Defendant
     JOSE JUNEZ-RAMIREZ
 7

 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         )       No. 13-CR-00204-MCE
                                                       )
                                                       )       STIPULATION AND
12           Plaintiff,                                )       ORDER CONTINUING SENTENCING
13                                                     )
     v.                                                )
14                                                     )       Date: February 11, 2016
     JOSE JUNEZ-RAMIREZ.                               )       Time: 9:00am.
15                                                     )       Judge: Honorable Morrison C. England, Jr.
                                                       )
16
             Defendant.                                )
                                                       )
17                                                     )
                                                       )
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19           IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Michele Beckwith, Assistant United States Attorney, attorney for plaintiff, together

21   with Kyle Knapp, attorney for defendant, Jose Junez-Ramirez, that the previously-scheduled

22   sentencing hearing, currently set for January 7, 2016, be vacated and that the matter be set for

23   sentencing on February 11, 2016 at 9:00 a.m.

24           This continuance is requested to allow defense counsel additional time to resolve an

25   issue with respect to the draft probation report that is critical in the guideline analysis.

26           Counsel contacted United States Probation Officer, Anthony Andrews, and he had no

27   objection to the new date. In addition, the following revised sentencing schedule is agreed

28   upon:   Judgment and Sentencing date – February 11, 2016; Reply or Statement of Non-



                                                           1
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 1   Opposition date – February 4, 2016; Motion for Correction of the Presentence Report due–
 2   January 28, 2016; Presentence Report Filed with the Court – January 21, 2016; Counsel’s
 3   written objections shall be delivered to the Probation Officer – January 14, 2016.
 4   IT IS SO STIPULATED.
 5
     Dated: January 4, 2016                                      BENJAMIN B. WAGNER
 6                                                               UNITED STATES ATTORNEY

 7                                                        by:    /s/ Kyle Knapp for
                                                                 MICHELE BECKWITH
 8
                                                                 Assistant U.S. Attorney
 9                                                               Attorney for Plaintiff

10   Dated: January 4, 2016                                      /s/ Kyle Knapp
11
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
12                                                               JOSE JUNEZ-RAMIREZ
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 1
                                                ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s January 7, 2016 criminal calendar
 4
     and re-calendared for judgment and sentencing on February 11, 2016.
 5
            The revised sentencing schedule shall be as follows: Judgment and Sentencing date –
 6
     February 11, 2016; Reply or Statement of Non-Opposition date – February 4, 2016; Motion for
 7
     Correction of the Presentence Report due– January 28, 2016; Presentence Report Filed with the
 8
     Court – January 21, 2016; Counsel’s written objections shall be delivered to the Probation
 9
     Officer on or before– January 14, 2016.
10
            IT IS SO ORDERED.
11
     Dated: January 11, 2016
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